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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

ELECTRONIC FRONTIER FOUNDATION,
Plaintiff,
Vv. Civil Action No. 1:11-CV-00939

U.S. DEPARTMENT OF JUSTICE,

Defendant.

Name me ee ee eee

 

DECLARATION OF DAVID M. HARDY

I, David M. Hardy, declare as follows:

(1) I am currently the Section Chief of the Record/Information Dissemination Section
(“RIDS”), Records Management Division (“RMD”), formerly at Federal Bureau of Investigation
Headquarters (“FBIHQ”) in Washington, D.C., and currently relocated to Winchester, Virginia. I
have held this position since August 1, 2002. Prior to my joining the FBI, from May 1, 2001 to
July 31, 2002, I was the Assistant Judge Advocate General of the Navy for Civil Law. In that
capacity, I had direct oversight of Freedom of Information Act (“FOIA”) policy, procedures,
appeals, and litigation for the Navy. From October 1, 1980 to April 30, 2001, I served as a Navy
Judge Advocate at various commands and routinely worked with FOIA matters. I am also an
attorney who has been licensed to practice law in the State of Texas since 1980.

(2) In my official capacity as Section Chief of RIDS, I supervise approximately 279
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employees who staff a total of ten (10) units and two field operational service center units whose
collective mission is to effectively plan, develop, direct, and manage responses to requests for
access to FBI records and information pursuant to the FOIA; Privacy Act of 1974; Executive
Order (“E.O0.”) 13526 (Dec. 29, 2009); Presidential, Attorney General and FBI policies and
procedures; judicial decisions; and Presidential and Congressional directives. The statements
contained in this declaration are based upon my personal knowledge, upon information provided
to me in my official capacity, and upon conclusions and determinations reached and made in
accordance therewith. My responsibilities also include the review of FBI information for
classification purposes as mandated by E.O. 13526 and the preparation of declarations in support
of Exemption 1 claims under the FOIA, 5 U.S.C. § 552 (b)(1). I have been designated by the
Attorney General of the United States as an original classification authority and a declassification
authority pursuant to E.O. 13526, §§ 1.3 and 3.1.

(3) Due to the nature of my official duties, I am familiar with the procedures followed
by the FBI in responding to requests for information from its files pursuant to FOIA, 5 U.S.C. §
552, and the Privacy Act, 5 U.S.C. § 552a. Specifically, | have been advised that on or about
September 16, 2010, the Office of Legal Counsel (“OLC”), U.S. Department of Justice (“DOJ”),
contacted the FBI’s Office of the General Counsel (“OGC”), to request that the FBI review and
defend the classification determinations in an OLC-originated 11-page document (hereinafter
“OLC Memo”) which analyzes the FBI’s authority under 28 U.S.C. § 2511.

(4) We have been advised that this OLC document, which had been requested at the
administrative stage by plaintiff (via letter dated February 15, 2011), was withheld in full by

OLC pursuant to FOIA Exemptions (b)(1) and (b)(5), 5 U.S.C. §§ 552 (b)(1) and (b)(5).

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Furthermore, we learned that the OLC Memo has now become the subject of the present
litigation, which EFF filed on or about May 19, 2011. In order to properly defend its motion for
summary judgment, OLC has requested that the FBI provide this declaration to support the
application of Exemption | in the OLC Memo. We have been advised by OLC that the
classification markings in the OLC Memo were derived from the classification markings
contained in two letters in which the FBI requested legal advice from OLC, and which provided
OLC with factual information as to which the legal advice was sought. These two letters are as
follows: A November 27, 2009 opinion request letter from Valerie Caproni, General Counsel,
FBI to David Barron, Acting Assistant Attorney General, Office of Legal Counsel: and a
December 11, 2009 letter from Ms. Caproni to Ms. Barron supplementing the previous letter by
providing additional factual information and expanding upon the request for legal advice. The
FBI requested OLC’s legal advice in order to assist its evaluation of how it should respond to a
draft Report by the Office of Inspector General of the Deparment of Justice (the “OIG”) in the
course of a review by the OIG of the FBI’s use of certain investigatory procedures (“OIG
Review”) used by the FBI to obtain telephone records. Many of the individual paragraphs of
these two letters were marked by the FBI as classified at the “S/NF” level, which permits limits
access to the documents to those individuals with an appropriate security clearance and a need to
know. See U.S. Dep’t of Justice Office of the Inspector General, “A Review of the Federal
Bureau of Investigation’s Use of Exigent Letters and Other Informal Requests for Telephone
Records” (Jan. 2010) (unclassified) (hereinafter “OIG Report”),

http://www. justice.gov/oig/special/s1001r.pdf, at 264 & n. 280. I have reviewed the

classification markings contained in FBI’s letters of November 27, 2009 and December 11, 2009,

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as well as the classification markings contained in the OLC Memo of January 8, 2010.

(5)  Asaresult, in accordance with Vaughn v. Rosen, 484 F.2d 820 (D.C. Cir. 1973),
the FBI submits this declaration in support of DOJ’s motion for summary judgment,’ which
provides the Court and plaintiff with a detailed justification for the continued withholding of the
classified portions of the OLC Memo pursuant to FOIA Exemption 1.’

(6) The FBI's analysis of the withholding of classified information contained in this
document is based on the standards articulated in the FOIA statute, 5 U.S.C. § 552 (b)(1).°

Exemption (b)(1) protects from disclosure those records that are:

(A) specifically authorized under criteria established by an Executive Order to be kept
secret in the interest of national defense or foreign policy; and

(B) are in fact properly classified pursuant to such Executive Order.

(7) The FBI’s analysis of whether Exemption (b)(1) permits the withholding of
agency records consists of two significant steps. First, the FBI must determine whether the
information contained in the record is information that satisfies both the substantive and
procedural criteria of the applicable E.O. governing the classification and protection of national

security information; and second, that it complies with the various substantive and procedural

 

' We have been advised that OLC will be submitting a separate Vaughn declaration
defending its assertion of Exemption 5, 5 U.S.C. § 552 (b)(5), contemporaneously herewith, and
that OLC will provide additional details regarding the applicability of that exemption. Thus, this
declaration will only address applicability of Exemption 1.

* Upon completion of its classification review, the FBI provided to OLC an appropriately
marked version of the OLC Memo which reflected that classification review and determinations
reached in accordance therewith.

3 Exemption (b)(1) has been asserted in the aggregate on the following pages of the OLC

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criteria of the current E.O., E.O. 13526, which governs the classification and protection of
information which affects the national security,’ and prescribes various substantive and
procedural criteria. I am bound by the requirements of E.O. 13526 when making classification
determinations.

(8) In order for information to be properly classified, and thus properly withheld from
disclosure pursuant to Exemption (b)(1), the information must meet the following requirements

set forth in E.O. 13526, §1.1 (a):

(1) an original classification authority is classifying the information:

(2) the information is owned by, produced by or for, or is under the control
of the United States Government;

(3) the information falls within one or more of the categories of information
listed in section 1.4 of this order; and

(4) original classification authority determines that the unauthorized
disclosure of the information reasonably could be expected to result in
damage to the national security, which includes defense against

transnational terrorism, and the original classification authority is able to
identify or describe the damage.

(9) As I will explain in further detail below, in my role as an original classification
authority, I have determined that the information withheld pursuant to Exemption (b)(1) is under
the control of the United States Government, is classified and requires a classification marking at
the “SECRET” level, since the unauthorized disclosure of this information “reasonably could be

expected to cause serious damage to the national security . . .’” which I will describe in further

 

Memo: pp. 1-2, 4-11.

* Section 6.1(cc) of E.O. 13526 defines “National security” as “the national defense or
foreign relations of the United States.”
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detail herein. See E.O. 13526, § 1.2(a)(2).

(10) In addition to these substantive requirements, certain procedural and
administrative requirements of E.O. 13526 must be followed before information can be
considered to be properly classified, including, but not limited to, the proper identification and
marking of the document itself, which the FBI has now completed. In particular, I have made

certain that all procedural requirements of E.O. 13526 were followed:

(1) — the document was marked as required and stamped with the proper
classification designation:°

(2) the document was marked to indicate clearly which portions are classified,
which portions are exempt from declassification as set forth in E.O.
13526, §1.6 (c), and which portions are unclassified;°

(3) the prohibitions and limitations on classification specified in E.O. 13526,
§ 1.7.7 were adhered to;

(4) the declassification policies set forth in E.O. 13526, §§ 3.1 (“Authority for
Declassification”) and 3.3 (“Automatic Declassification”) were followed;
and

(5) any reasonably segregable portions of this classified document which did
not meet the standards for classification under E.O. 13526 were
declassified and marked for release, unless withholding was otherwise

 

> E.O. 13526, §1.6 (a)(1) - (5).
° E.0. 13526, §1.6 (a)(5)(c).

7E.O. 13526, § 1.7(a) specifically states that “[i]n no case shall information be classified,
continue to be maintained as classified, or fail to be declassified in order to:

(1) conceal violations of law, inefficiency, or administrative error:
(2) prevent embarrassment to a person, organization, or agency:

(3) restrain competition; or

(4) prevent or delay the release of information that does not require
protection in the interest of the national security.”

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warranted under applicable law.*

FINDINGS OF DECLARANT

(11) As explained above, the 11-page OLC Memo was written by OLC in response toa
specific request by the FBI for legal advice and guidance concerning the FBI’s evaluation of how
it should respond to a draft OIG Report concerning the FBI’s use of certain investigative
techniques in the course of certain national security and law enforcement investigations.”

(12) With the above requirements in mind, I personally and independently examined
the FBI information contained in the OLC Memo and withheld pursuant to Exemption (b)(1).

As a result of this examination, I determined that the classified information contained in the OLC
Memo continues to warrant classification at the “SECRET” level, and is exempt from disclosure
pursuant to E.O. 13526, §1.4 (c) — (“intelligence activities (including covert action), intelligence
sources or methods or cryptology,”) as the unauthorized disclosure of the information in the OLC

Memo “reasonably could be expected to cause serious damage to the national security....” See

E.O. 13526, § 1.2 (a)(2).

INTELLIGENCE ACTIVITIES, INTELLIGENCE SOURCES OR METHODS

 

*5 U.S.C. § 552(b) provides in part, that “[a]ny reasonably segregable portion of a record
shall be provided to any person requesting such record after deletion of the portions which are
exempt under this subsection.”

” Congress enacted ECPA to extend government restrictions on wire taps from telephone
calls to include transmissions of electronic data by computer. ECPA itself was an amendment to
Title III of the Omnibus Crime Control and Safe Streets Act of 1968, which was primarily
designed to prevent unauthorized government access to private electronic communications. The
amendments to ECPA also added new provisions prohibiting access to stored electronic
communications — through the Stored Communications Act, 18 U.S.C. §§ 2701-2712.
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(13) E.O. 13526, §1.4 (c), exempts from disclosure “intelligence activities (including
covert action), intelligence sources or methods or cryptology.” An intelligence activity or method
includes any intelligence action or technique utilized by the FBI against a targeted individual or
organization that has been determined to be of national security interest. An intelligence method
is used to indicate any procedure (human or non-human) utilized to obtain information
concerning such individual or organization. An intelligence activity or method has two
characteristics. First, the intelligence activity or method -- and information generated by it -- is
needed by U.S. intelligence/counterintelligence agencies to carry out their missions. Second,
confidentiality must be maintained with respect to the activity or method if the viability,
productivity and usefulness of its information are to be preserved. Classified information is
withheld on certain pages to protect intelligence methods utilized by the FBI for gathering
intelligence data. '°

(14) The redactions of certain portions of the OLC Memo were made in order to
protect from disclosure classified information which would reveal actual intelligence activities,
sources or methods used by the FBI against targets of foreign counterintelligence and
counterterrorism investigations or operations; and disclose the intelligence activities, sources or
methods, as well as intelligence-gathering capabilities used by the FBI to gather specific
information on targets of national security investigations. The intelligence activities or methods
detailed in the withheld information are an effective means for the FBI to gather, store, or

disseminate intelligence information. The activities or methods that are discussed in the January

 

Mi Exemption (b)(1) has been asserted as to intelligence activities, intelligence sources, or

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8, 2010 OLC Memo are used in the FBI’s current intelligence or counterintelligence
investigations, and are in accordance with the Attorney General’s guidelines on FBI
counterintelligence and counterterrorism investigations.

(15) The classification redactions were made to protect from disclosure information
that would reveal the actual intelligence activities and methods used by the FBI against targets of
foreign counterintelligence investigations or operations; and disclose the intelligence gathering
capabilities of the activities or methods directed at particular targets. The intelligence activities or
methods detailed in the withheld information are effective means for the FBI to gather, store or
disseminate intelligence information. As the records reflect, the criteria applied and priorities
assigned are used in the FBI’s present investigations and conducted in accordance with the
Attorney General’s guidelines.

(16) The information in the January 8, 2010 OLC Memo concerning activities and
methods is highly specific in nature and known to very few individuals. Disclosure of the specific
information which describes these intelligence activities and methods -- which are still used by
the FBI today to gather intelligence information -- could reasonably be expected to cause serious
damage to national security because disclosure would allow hostile entities to discover the
current methods and activities used and could then develop countermeasures which could
severely disrupt the FBI's intelligence-gathering capabilities. The countermeasures could include
the alteration of behavior to evade detection as well as utilize these same methods and activities

to engage in disinformation. This would severely damage the FBI's efforts to detect and

 

intelligence methods on the following pages of the OLC Memo: pp. 1-2, 4-11.

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apprehend violators of the United States’ national security and criminal laws.

(17) Release of the exempted classified material would reveal actual intelligence
activities or methods utilized by the FBI and disclose the intelligence-gathering capabilities of
those activities or methods employed. The release of this information could permit hostile
governments to appraise the scope, focus, location, and capabilities of the FBI’s intelligence-
gathering methods and activities, and allow hostile agents to devise countermeasures to
circumvent these intelligence activities or methods and render them useless in providing
intelligence information. This would severely disrupt the FBI's intelligence gathering
capabilities. This information is properly classified at the “SECRET” level and withheld pursuant
to E.O. 13526, §1.4(c), and exempt from disclosure pursuant to FOIA Exemption (b)(1).

DEFENDANT'S BURDEN OF ESTABLISHING
EXEMPTION (b)(1) CLAIMS

(18) The information withheld in this case pursuant to Exemption 1 was examined in
light of the body of information available to me concerning the national defense and foreign
relations of the United States. This information was not examined in isolation. Instead, each
piece of information contained in the FBI’s letters of November 27, 2009 and December 11,
2009, and OLC’s memorandum of January 8, 2010, was evaluated with careful consideration
given to the impact that disclosure of this information will have on other sensitive information
contained elsewhere in the United States intelligence community's files, including the secrecy of
that other information. Equal consideration was given to the impact that other information either
in the public domain or likely known or suspected by present or potential adversaries of the

United States, would have upon the information I examined, and upon attempts by a hostile

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entity to analyze such information.

(19) In those instances where, in my judgment, the disclosure of this information could
reasonably be expected to cause serious damage to the national security, and its withholding
outweighed the benefit of disclosure, I exercised my prerogative as an original classification
authority and designated that information as classified in the interest of national security at the
“SECRET” level, and invoked FOIA Exemption (b)(1) to prevent disclosure. Likewise, the
justifications for the withheld classified information were prepared with the intent that they be
read with consideration given to the context in which the classified information is found. This
context includes not only the surrounding unclassified information, but also other information
already in the public domain, as well as information likely known or suspected by hostile
intelligence entities. It is my judgment that any greater specificity in the descriptions and
justifications set forth with respect to the intelligence activities (including special activities),
intelligence sources or methods, or foreign relations and activities could reasonably be expected
to jeopardize the national security of the United States, and as a result, all information appearing
in these documents has been appropriately classified pursuant to E.O. 13526,.§ 1.4(c) and
withheld pursuant to FOIA Exemption (b)(1).

OLC MEMORANDUM — CONSULTATION WITH OTHER AGENCIES

(20) As part of its classification review of the OLC Memorandum, the FBI identified
potential equities and interests of other government agencies (“OGAs”) with regard to the OLC
Memo. As a result, in accordance with the U.S. Department of Justice (‘DOJ’) DOJ regulations,
28 C.F.R. § 16.4, the FBI referred the OLC Memo for consultation with those OGAs. One OGA,

which has requested non-attribution, affirmatively responded to our consultation and concurs in

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all of the classification markings, including the reclassification of footnote 4 from “(U)’to the
“(S//NF)” level.” Based on that consultation, as well as pursuant to my own designation as an
original classification authority, the FBI continues to require that the portions of the OLC Memo
marked as classified be withheld on the basis of FOIA Exemption (b)(1).
CONCLUSION

(21) Based on a careful classification review of the January 8, 2010 OLC Memo, the
FBI has concluded that all sections of the Memo previously marked “SECRET/NOFORN” —
(“S//NF”) should remain marked accordingly; that all paragraphs previously marked
“UNCLASSIFIED” “(U)” should remain marked accordingly as “(U);” and that one footnote
which had been marked “UNCLASSIFIED” required re-designation to “SECRET/NOFORN” for
the reasons articulated herein.

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
and correct.

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Executed this [0 day of November, 2011.

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DAVID M. HARDY >
Section Chief

Record/Information Dissemination Section
Records Management Division

Federal Bureau of Investigation

Winchester, Virginia

 

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